Case 1:23-mj-00095-JFA Document1 Filed 05/08/23 Page 1of 1 PagelD# 1

UNITED STATES DISTRICT COURT

for the

Eastern District of Virginia

United States of America )
v. )
) Case No, 1:23-MJ-95
MICHAEL BRENNER
)
)
Defendant(s)
CRIMINAL COMPLAINT
1, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of September 2022 to on or about March 2023 3 the city/county of Fairfax
in the Eastern District of Virginia , the defendant(s) violated:
Code Section Offense Description
21 U.S.C. §§ 841 (a)(1) and 846 The defendant, unlawfully, knowingly, and intentionally

combine, conspire, confederate and agree with others, both
known and unknown, to unlawfully, knowingly, and intentionally
distribute a mixture or substance containing a detectable
amount of methamphetamine, a Schedule I! controlled
substance, in violation of Title 21, United States Code, Sections
841(a)(1) and 846.

This criminal complaint is based on these facts:

(See attached affidavit.)

L)

Continued on the attached sheet. CA ty at
\ Revieweepy AtsPAUSA omp. int’s signature
SAUZA Paul onthe April Russo Brandon Strait, Special Agent , FBI

Printed name and title Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

telephone (specify reliable electronic means).

Digitally signed by John F.

John F. Anderson Anderson

Date: Date: 2023.05.08 14:59:00 -04'00'
Judge's signature

City and state: Alexandria, Virginia Hon. John F. Anderson, U.S. Magistrate Judge

Printed name and title

